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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. ___________

 THOMAS A. ARCHIPLEY II on behalf of THOMAS E. ARCHIPLEY GST TRUST
 AGREEMENT F/B/O THOMAS A. ARCHIPLEY II

            Plaintiff,

 v.

 TELLURIDE COUNCIL FOR THE ARTS AND HUMANITIES d/b/a TELLURIDE ARTS,

            Defendant.


                                         COMPLAINT


       Plaintiff Thomas A. Archipley II (“Mr. Archipley”) on behalf of the Thomas E. Archipley
GST Trust Agreement f/b/o Thomas A. Archipley II (the “Trust”), by and through undersigned
counsel, states the following as his Complaint against Defendant Telluride Council for the Arts
and Humanities d/b/a Telluride Arts (“Telluride Arts”):

                               I.      NATURE OF THE CASE

        1.     This is an action to place reasonable limits on an open-air concert venue that has
opened ten feet from Mr. Archipley’s bedroom window in the Town of Telluride. When
Mr. Archipley purchased his third-floor condominium in 2019, he had no reason to believe that
the next-door Telluride Transfer Warehouse (the “Warehouse”) would soon begin hosting
concerts and events so loud that he would not be able to hold a conversation or hear the basketball
play-by-play on his TV. The Warehouse had sat open to the elements since the roof collapsed in
the late 1970s, and the land use documents governing the repurposing of the building promised
cultural events and “acoustic” music in an “encase[d]” structure. The Town’s earlier zoning
approvals required Telluride Arts to rehabilitate the Warehouse and to install a historic, complete
roof enclosing the venue.

        2.      Discarding those requirements, Telluride Arts pursued what its director called a
“fake it till you make it” approach and began hosting open-air concerts, often multiple times a
week, with amplified music blasting past 9:00 p.m. The Town looked the other way. Then, in
March of this year, Telluride Arts received approval from the Town to do away with the complete
roof requirement altogether. Mr. Archipley and his neighbors pleaded for reasonable limits on
concert noise, and at the very least a requirement that Telluride Arts’ events comply with
Colorado’s statutory bare-minimum noise standards. Telluride Arts and the Town refused and



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doubled down. The organization continued to hold loud concerts and has so far declined to conduct
a noise study to estimate its impacts, declined to include noise standards in its land use approval,
and declined to pursue any sound mitigation efforts. The Town has likewise refused to enforce its
noise ordinance against events at the Warehouse.

       3.      A week after receiving its approval, and hearing about its events’ effects on
neighbors, Telluride Arts held yet another concert, registering at 93 decibels, about as loud as a
lawnmower in the same room.

       4.     Left with no other options, Mr. Archipley is filing this action to abate Telluride
Arts’ ongoing nuisance and to make his home and the homes of his neighbors livable once again.

                             II.     PARTIES AND PROPERTIES

            5.   Mr. Archipley is an individual and a resident of Okemos, Michigan.

        6.      The Trust is a trust with a situs in Michigan. Mr. Archipley is a co-trustee and
beneficiary of the Trust. The Trust’s single other co-trustee has delegated to Mr. Archipley the
full authority to bring this action on behalf of the Trust.

       7.     The Trust owns the property commonly known 215 W. San Juan Avenue, 301 Fir
House, Telluride, Colorado 81435 (the “Residence”).

       8.      Telluride Arts is a Colorado non-profit corporation with a principal place of
business located at 135 West Pacific, PO Box 152, Telluride, Colorado 81435.

        9.     Telluride Arts owns or controls property immediately adjacent to the Residence,
legally described as Lots 5R-R and 75, Block 17, Town of Telluride.

       10.    The only permanent structure on this property comprises the remaining four walls
of the Warehouse, constructed in 1906, and pictured below.




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       11.     The Residence occupies the third floor of the gray building immediately adjacent
to the Warehouse in the image above. The relative locations of the Warehouse (in red) and the
Residence (in blue) appear in the vicinity map below:




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                               III.   JURISDICTION AND VENUE

            12.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a).

         13.    Mr. Archipley, as both an individual and as co-trustee and beneficiary of the Trust,
is a citizen of Michigan. The Trust’s situs is located in Michigan. Telluride Arts is a Colorado
non-profit corporation with its principal place of business in Colorado. Therefore, complete
diversity exists between the parties.

        14.     The amount in controversy exceeds $75,000. Although Mr. Archipley contends
that Telluride Arts’ interference with his and his family’s use and enjoyment of the Residence
cannot be quantified, because the Residence is worth several million dollars, and Telluride Arts’
noisy events make it unusable multiple days per week, many months out of the year—and threaten
to do so in perpetuity—the value of relief from Telluride Arts’ nuisance exceeds $75,000.

      15.     Additionally, and upon information and belief, Telluride Arts’ costs to implement
or comply with the injunctive relief requested (e.g., installing sound mitigation measures and
permanently limiting business hours) will incur costs greater than $75,000.

        16.     Thus, whether viewed from the perspective of the value of the relief to the plaintiff
or the cost of compliance to the defendant, the amount in controversy exceeds the jurisdictional
requirement. See Lovell v. State Farm Mut. Auto. Ins. Co., 466 F.3d 893, 897 (10th Cir. 2006).

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because
Mr. Archipley’s claims arise from conduct occurring in the Town of Telluride (the “Town” or
“Telluride”), San Miguel County, Colorado, and because the Warehouse is located in the Town
and San Miguel County, and because Telluride Arts is a Colorado corporation.

                                IV.    GENERAL ALLEGATIONS

       18.    In 2019, Mr. Archipley purchased the Residence as a family getaway from his
permanent home in central Michigan. The Archipley family had visited Telluride for years, and
the newly constructed Residence offered both a mountain escape and the convenience of in-town
amenities.

       19.    When Mr. Archipley purchased the Residence, the next-door Warehouse stood as
an empty shell. Its roof had collapsed in the 1970s and only the stone exterior walls remained.
The Residence’s master bedroom and guest bedroom are adjacent to the Warehouse and are
approximately ten feet from the Warehouse’s southern wall.

        20.   The recorded documents and Town regulations available when Mr. Archipley
purchased the Residence stated that the Warehouse would be rehabilitated into its historic
condition, and that it would serve as an intimate, enclosed space for cultural events. A 2016
“Preliminary Program Summary,” which the Town had approved as the regulatory management
plan for the Warehouse, promised an “iconic” space for “community gatherings, such as lectures,


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parties, celebrations, acoustic music, poetry readings and literary events, small film screenings,
artist presentations, public gatherings, art installations, meetings, lectures, artist-in-residence, and
temporary studios.” It also noted that the “historic exterior” would “encase” the space.

       21.     The Town’s Planned Unit Development zoning classification likewise required a
complete roof as part of the Warehouse’s rehabilitation, and even Telluride Arts’ attorney
recognized that the organization was required to deliver a “warm, dark shell.” That is, a covered
building, not an outdoor stage.

        22.    None of these plans created a concern for Mr. Archipley. If anything, cultural
events like lectures and art installations, enclosed in the building next door, made living in
Telluride quite appealing to Mr. Archipley and motivated the purchase of the Residence.

       23.     Then the reality arrived: in the late spring of 2020, Telluride Arts began using the
Warehouse as an open-air concert venue. When summer returned in 2021, Telluride Arts
scheduled at least 12 hours of amplified music per week.

        24.     The performances were not merely “acoustic” and instead included rock and jam
bands blasting amplified music late into the evening. Performances routinely ran past 9:00 p.m.
and rattled the Residence.

        25.    During the summer of 2021, a neighbor located 300 feet from the Warehouse
recorded performances at 78 decibels and above, approximately twice as loud as a vacuum cleaner
in the same room.

        26.    Inside the Residence, whenever Telluride Arts holds a concert—which can be
multiple times per week during the warmer months—Mr. Archipley cannot hear his own TV or
hold a conversation in many parts of his home.

       27.     Neither the Warehouse’s zoning nor the preliminary management plan had
contemplated the Warehouse’s pre-rehabilitation use to include rock and jam band concerts in the
open air and Telluride Arts’ own director described the pre-rehabilitation period as the
organization’s “fake it till you make it” phase.




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            28.   The current makeshift concert venue appears in the photo below:




        29.     Evidently enamored with its outdoor concert space, Telluride Arts then discarded
its plans to enclose the Warehouse with a roof and began pursuing a PUD amendment to allow a
partial roof instead, and by extension, an open air concert venue. In fact, plans from Telluride
Arts’ architect indicated that the covered portion of the Warehouse would become a rooftop deck
with a bar and café where more performances and events would occur directly across from
Mr. Archipley’s bedroom.

       30.    At this point, Mr. Archipley grew more concerned. The PUD had required a full
roof, so the outdoor venue was supposed to be temporary. However, the amendment and
accompanying materials demonstrated the organization’s intent to make outdoor concerts a
permanent feature.

       31.    Mr. Archipley and other neighbors repeatedly alerted Telluride Arts to their
concerns about this plan, and about the impacts the organization’s concerts were having on their
wellbeing.


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        32.     Telluride Arts disregarded those concerns and charged ahead. Instead of offering
sound-mitigation measures for its outdoor programming or conducting a sound study to assess the
projected impacts from its proposed open air venue and rooftop bar, Telluride Arts orchestrated a
public relations campaign against the neighbors, describing the Warehouse as “under attack” from
“a small number of people . . . trying to derail the project.”

       33.    Telluride Arts’ campaign even admitted that “we do understand the impact on
neighbors has been greater during this unprecedented time” but Telluride Arts never offered to
make any changes to its outdoor concerts and noisy events.

       34.     The Town, too, expressed little sympathy for neighbors’ concerns. When neighbors
contacted the Town marshal during particularly noisy concerts, the marshal stated that he alone
would determine whether the noise was unreasonable and in violation of the Town’s noise
ordinance. He declined to take action.

       35.    On March 24, 2022 representatives for Telluride Arts appeared before the Town’s
Planning Commission in pursuit of the PUD amendment to eliminate the PUD’s complete roof
requirement and to, by extension, allow open-air concerts in perpetuity.

        36.    At that public hearing, Mr. Archipley, through counsel, again noted that Telluride
Arts’ events were running late into the night and that Mr. Archipley could not hear his television
or hold a conversation inside his Residence. He requested reasonable noise limitations, including
a prohibition on amplification and noise standards consistent with state statute, C.R.S. § 25-12-
103.

      37.      Another neighbor described Telluride Arts’ unwillingness to address noise
complaints, or to engage with concerned neighbors, explaining:

            My last point and I don't want it to sound harsh, but my wife and I and a number of
            others have been trying to get the Transfer Warehouse and [Telluride Arts] to
            engage on some of these concerns. We have personally asked for meetings and been
            stood up. We've asked to meet and address some of these issues. And despite the
            comments today, my phone is not ringing. No one is responding and engaging on
            these issues. I think there are paths forward, but you can't tell us you want to work
            with us and then not respond to calls and requests for meetings.

       38.     The Planning Commission declined to include any noise standards, nor did it
require Telluride Arts to provide any information regarding projected sound impacts or to
implement sound mitigation measures. On the road to approving the PUD amendment, one
commissioner actually observed that Telluride was not noisy enough.

        39.     Even though the Planning Commission declined to add noise standards to its PUD
amendment approval, having been made aware of its impacts on neighbors, and on Mr. Archipley
in particular, Telluride Arts could have volunteered to include its own standards and mitigation
requirements.


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       40.    Telluride Arts again declined to propose any relief at all. It has refused requests to
eliminate amplification. It has declined to comply with state noise limits.

        41.    A week after the Planning & Zoning Commission (“P&Z”) approved the PUD
amendment, Telluride Arts held yet another amplified concert. From Thursday afternoon into the
early evening, the decibel levels measured inside the Residence consistently reached 77 decibels
and peaked at 93 decibels. For a frame of reference, a motorcycle engine emits 95 decibels of
noise, and exposure to noise levels at or above 70 decibels can lead to hearing loss.

        42.     On May 10, Mr. Archipley appealed P&Z’s PUD amendment approval to the Town
Council, trying one last time to add reasonable noise mitigation conditions to Telluride Arts’ open-
air concept. The Town Council affirmed Planning Commission’s approval without conditions,
and Mr. Archipley is appealing that decision in state court in Thomas A. Archipley II on behalf of
the Thomas E. Archipley GST Trust Agreement v. Telluride Town Council; Telluride Planning and
Zoning Commission; Town of Telluride; and Telluride Council for the Arts and Humanities d/b/a
Telluride Arts, San Miguel County District Court Case No. 2022CV030021 (filed June 7, 2022).

        43.     Telluride Arts has indicated that it will continue to hold outdoor concerts, with
amplification and without sound mitigation, irrespective of Mr. Archipley’s concerns or the
concerns of other neighbors. Its summer events calendar already identifies concerts from “Disco
Fuego,” “Birds of Play,” “Sol Chase,” “Tom and Claybrook,” and “High Country Hustle” in the
last few weeks of June alone. Given the approval of the PUD amendment allowing for an open-air
concert venue, Mr. Archipley has every reason to believe those concerts will become a permanent
feature of life next to the Warehouse, and Telluride Arts’ events calendar identifies multiple
concerts in the coming weeks.

        44.    Because neither the Town nor Telluride Arts has made any effort to address
Telluride Arts’ noise impacts, which make the Residence unlivable many days out of the year,
Mr. Archipley has been left with no choice but to file this action.

                                  FIRST CLAIM FOR RELIEF
                                      (Private Nuisance)

            45.   Mr. Archipley incorporates the foregoing allegations as though fully set forth
herein.

       46.    Telluride Arts’ conduct in holding numerous outdoor concerts and events with
sound amplification have unreasonably interfered with Mr. Archipley’s use and enjoyment of the
Residence.

        47.     The interference from these concerts and events, which last for hours and well into
the night, is so substantial that it would be offensive and cause inconvenience to a reasonable
person in the community. A reasonable community member, for instance, would not tolerate noise
so loud that he or she was unable to hold a conversation at home for hours at a time, and sometimes
past 9:00 p.m., yet Mr. Archipley endures just that, multiple days per week.


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       48.     Telluride Arts’ interference was negligent or intentional. Mr. Archipley and his
neighbors made Telluride Arts aware of its noise impacts on numerous occasions, yet just a week
after Mr. Archipley’s counsel described those impacts at the Town’s Planning Commission
hearing, which Telluride Arts’ counsel and director attended, Telluride Arts held another deafening
concert.

       49.     Telluride Arts therefore knew or should have known that it was perpetuating the
same interference with Mr. Archipley’s use and enjoyment of the Residence.

            50.      Without relief from this Court, Telluride Arts’ nuisance will continue unabated.

       51.     As a result of Telluride Arts’ interference, Mr. Archipley has suffered and will
continue to suffer damages.

                                    SECOND CLAIM FOR RELIEF
                         (Public Nuisance Pursuant to C.R.S. § 25-12-101 et seq.)

            52.      Mr. Archipley incorporates the foregoing allegations as though fully set forth
herein.

        53.    The Residence and the Warehouse are located in a “Commercial Zone” as defined
in C.R.S. § 25-12-102(1). The surrounding blocks include a wide range of small-scale commercial
and residential uses, including a market, an indoor art gallery, multi-family residential buildings,
single-family residences, a brewpub, and several restaurants.

        54.     Pursuant to C.R.S. § 25-12-103(1), the statutory noise limits in a commercial zone
are as follows:

                  a. From 7:00 a.m. to 7:00 p.m.: 60 decibels

                  b. From 7:00 p.m. to 7:00 a.m.: 55 decibels

        55.     Sound levels from Telluride Arts’ events at the Warehouse have exceeded these
statutory limits on at least two monitored occasions, first when levels were recorded at or above
78 decibels during the summer of 2021, and again when they were consistently monitored at 77
decibels, with a peak of 93 decibels on March 31, 2022. Mr. Archipley has subjectively
experienced the same or greater levels of noise on many other dates.

            56.      These sound levels are prima facie evidence of a public nuisance. C.R.S. § 25-12-
103(1).

       57.     Mr. Archipley is entitled to a permanent injunction prohibiting Telluride Arts from
maintaining or permitting sound levels in excess of those set forth above. C.R.S. § 25-12-104.




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                                      THIRD CLAIM FOR RELIEF
                                        (Permanent Injunction)

            58.      Mr. Archipley incorporates the foregoing allegations as though fully set forth
herein.

       59.     Telluride Arts’ nuisance results from the organization’s failure to place reasonable
limits on its events and/or to employ or install reasonable sound mitigation measures and
techniques.

            60.      An injunction requiring the following would abate Telluride Arts’ nuisance:

                  a. Amplified music shall be prohibited;

                  b. Sound levels shall not exceed 60 decibels between 7:00 a.m. and 7:00 p.m. and
                     shall not exceed 55 decibels between 7:00 p.m. and 7:00 a.m., as measured in
                     accordance with C.R.S. § 25-12-103; and

                  c. Telluride Arts shall install sound measuring devices to ensure compliance with the
                     above standards during musical performance.

        61.    Telluride Arts has perpetuated and will continue to perpetuate sound levels in
excess of those set forth in C.R.S. § 25-12-103 as well an unreasonable, and intentional,
interference with Mr. Archipley’s use and enjoyment of the Residence.

       62.     In losing the ability to use the Residence without interference, Mr. Archipley will
continue to be irreparably harmed.

       63.    The injury to Mr. Archipley outweighs the harm the requested injunction will cause
to Telluride Arts. Mr. Archipley does not seek the elimination of concerts and events at the
Warehouse, only reasonable limitations on the sound from those events, consistent with state
standards.

        64.    The injunction will not harm the public interest. The public has the right to be free
from excessive noise, as recognized by C.R.S. § 25-25-101 et seq., and an injunction reasonably
limiting that noise will advance the public interest, not harm it. An injunction will allow
Mr. Archipley’s neighbors, many of whom have complained about the intense noise levels, to once
again live peaceably next to the Warehouse.

                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that the following judgments and orders be entered
against the Telluride Arts and in favor of Mr. Archipley:

            A.       A judgment that Telluride Arts has maintained a private nuisance;



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       B.     A judgment that Telluride Arts has maintained a public nuisance in violation of
C.R.S. § 25-12-103;

       C.      An injunction prohibiting Telluride Arts from maintaining a private and public
nuisance as follows:

                 1. Amplified music shall be prohibited;

                 2. Sound levels shall not exceed 60 decibels between 7:00 a.m. and 7:00 p.m. and
                    shall not exceed 55 decibels between 7:00 p.m. and 7:00 a.m., as measured in
                    accordance with C.R.S. § 25-12-103; and

                 3. Telluride Arts shall install sound measuring devices to ensure compliance with the
                    above standards during musical performance.

            D.      In the alternative, a judgment for damages to be proven at trial; and

            E.      Such additional relief as may be provided by law or the Court may deem just and
proper.

            Respectfully submitted this 7th day of June, 2022.



                                                       /s/ Andrew L.W. Peters
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